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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                           Miami Division

                                 CASE NO. 1:17-mc-24560-KMW


    WAYMO, LLC,

           Plaintiff,                                Re: No. C 17-00939 WHA, N.D. Cal.

           v.

    UBER TECHNOLOGIES, LLC,
    OTTO TRUCKING, LLC,
    and OTTOMOTTO, LCC,

           Defendants.


         WAYMO’S OPPOSITION TO CRAIG CLARK’S EMERGENCY MOTION
          TO QUASH AND STAY SUBPOENA TO TESTIFY AT A DEPOSITION

         Waymo seeks to depose Craig Clark, a former Uber attorney who is alleged to have

  implemented and directed a systemic policy at Uber to avoid leaving paper trails of discoverable

  information. The policy allegedly included the use of computing devices that could not be tied to

  Uber, “ephemeral” messages that self-delete and leave no record, and a practice of falsely labeling

  documents as attorney-client privileged. These allegations bear materially on Uber’s primary

  defense in the underlying trade-secret action, and go to the heart of a special round of discovery

  ordered by Judge Alsup specifically to let Waymo inquire about these alleged practices.

         Waymo has sued Uber for theft of trade secrets relating to self-driving car

  technology. Central to Waymo’s allegations are that a former Waymo engineer, Anthony

  Levandowski, downloaded 14,000 highly-confidential design files from a secure Waymo server

  shortly before his departure. Uber does not dispute that Mr. Levandowski took the files, nor that

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  he copied them onto external memory devices as well as his personal computer. Rather, Uber’s

  defense throughout the litigation has been that Uber has searched Uber’s computer systems and

  servers for copies of the 14,000 files, and failed to locate any of them.

           Recent events have cast grave doubts on the meaningfulness of this defense

  narrative. Specifically, on November 22 the United States Attorney sent a letter to United States

  District Court Judge William Alsup indicating that Uber conducts business on servers not

  controlled by Uber. The implications of this charge in this case are clear, as expressed by Judge

  Alsup:

           THE COURT: I'm just going to say to you: I would look like a fool if Uber were to fool

  me on this. You told me many times there were -- none of these documents ever hit the server.

           MR. GONZÁLEZ: We stand by that.

           THE COURT: Okay. Well, it turns out the server is only for the dummies, and that the

  real stuff goes on, on the shadow system.

  (11/28 Hr’g Tr., filed herewith as Exhibit 2, at 149:13.)

           Judge Alsup held a two-day evidentiary hearing on the matter, and heard enough to stay

  the underlying litigation specifically for an accelerated period of liberal discovery into the

  allegations--a number of which specifically name Mr. Clark. Mr. Clark has previously agreed to

  sit for a deposition in San Francisco on December 22, yet now cites undue burden in seeking to

  quash the deposition subpoena in its entirety. The Court should deny Mr. Clark’s request for

  special treatment, and allow Waymo to proceed with the broad discovery specifically ordered by

  Judge Alsup.




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                       FACTUAL AND PROCEDURAL BACKGROUND

  Disclosure of the Richard Jacobs allegations

         On November 22, 2017, the United States Attorney for the Northern District of California

  sent a letter to Judge William Alsup, presiding judge over the underlying Waymo v. Uber litigation,

  disclosing that the U.S. Attorney had interviewed a former employee named Richard

  Jacobs. According to the letter, Mr. Jacobs told the government that Uber employees regularly

  used non-Uber devices (non-attributable devices) and self-deleting communications services

  (ephemeral communications), such that Uber could have obtained or transmitted wrongfully-

  obtained trade secrets on non-Uber systems, such that they would not be discovered by a review

  of Uber’s computers. The government’s letter further states that Mr. Jacobs had laid out similar

  allegations in a May 5 letter to Uber’s counsel (the “Jacobs letter,” filed herewith as Exhibit 1).

         The Court then conducted a two-day evidentiary hearing, allowing counsel for both Uber

  and Waymo to question Mr. Jacobs and four other witnesses about the Jacobs letter and related

  subjects. After this hearing, Judge Alsup continued the trial, and ordered a round of accelerated

  and liberal discovery for Waymo, to be completed by December 22. (11/29 Hr’g Tr., filed herewith

  as Exhibit 3, At 159:4-13). The discovery was to focus on the subject matter of the Jacobs letter,

  such as Uber’s use of non-attributable devices, ephemeral communications, and discovery

  obstruction. (Id.; see also Ex. 2, 11/28 Hr’g Tr. at 149:19-23 [“[T]he Government has enough

  faith in it to have provided it. I would just be wrong, it would be unfair not to give them a chance

  to follow up on this and see if there is anything there.”].) The court then referred discovery to

  previously-appointed Special Master John Cooper, instructing Mr. Cooper: “I want to be liberal

  in giving these folks at the Waymo table the discovery -- err on the side of discovery.” (Ex. 3,

  11/29 Hr’g Tr. at 159:4-8.) In a subsequent meet-and-confer phone call, the Special Master stated

  that Waymo is entitled to seven hours for each deposition taken during this round of discovery.
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  Involvement of Craig Clark

         Judge Alsup’s order granting supplementing discovery makes clear that the court is

  interested in subjects directly concerning Mr. Clark. In the order, which grants discovery so that

  Waymo can “get to the bottom of new evidence that has come to light as a result of the letter dated

  November 22, 2017 from the Office of the United States Attorney,” Judge Alsup stated specifically

  that Waymo take discovery into at least the following topics: Uber’s use of non-attributable

  devices and ephemeral communications and Uber’s “systemic attempts to avoid creating a paper

  trail and to conceal facts under contrived claims of attorney-client and other privileges.” (Ex. 4 at

  1-2.) The Jacobs letter specifically alleges that Mr. Clark knew of, and even instructed Uber

  employees, on precisely those practices. For example:

         •       Page 5: “Craig Clark, Uber’s Legal Director for ThreatOps, and Mat Henley,
                 Uber’s Director of Threat Operations (ThreatOps), led Uber’s efforts to evade
                 current and future discovery requests, court orders, and government investigations
                 in violation of state and federal law as well as ethical rules governing the legal
                 profession. Clark devised training and provided advice intended to impede,
                 obstruct, or influence the investigation of several ongoing lawsuits against Uber
                 and in relation to or contemplation of further matters within the jurisdiction of the
                 United States.”

         •       Page 5-6: “Jacobs advocated for a secure and encrypted centralized database to
                 ensure confidentiality and recordkeeping but provide access to intelligence for
                 ThreatOps personnel. He presented a draft proposal to managers Henley and
                 Clark. However, discussions broke down immediately because they objected to
                 preserving any intelligence that would make preservation and legal discovery a
                 simple process for future litigants. Clark emphasized that this was “exactly what
                 we don’t want to do . . . create [a paper trail] that could later be discoverable.”
                 Clark noted the errors of past collections where Uber was forced to turn over
                 documents. He alluded to the lessons learned from the “Ergo Investigation” and
                 noted that encryption alone was not enough to avoid discovery.1

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              The “Ergo Investigation” likely refers to Uber’s use of a firm called Ergo to investigate
  a plaintiff and counsel who had brought suit against Uber. United States District Court Judge Jed
  Rakoff called Ergo’s actions “blatantly fraudulent and arguably criminal,” and chastised Uber as
  well: “It is a sad day when, in response to the filing of a commercial lawsuit, a corporate defendant
  feels compelled to hire unlicensed private investigators to conduct secret personal background
  investigations of both the plaintiff and his counsel.” Mr. Clark gave a presentation at Uber, called
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         •      Page 6: “Clark and Henley helped implement and directed the almost-exclusive
                use of ephemeral and encrypted communications software, including WickrMe
                (and later Wickr SCIF), to communicate sensitive information within
                ThreatOps…. Henley and Clark implemented this program of ephemeral and
                encrypted communications for the express purpose of destroying evidence of
                illegal or unethical practices to avoid discovery in actual or potential litigation.”

         •      Page 7: “Further, Clark and Henley directly instructed Jacobs to conceal
                documents in violation of Sarbanes-Oxley by attempting to “shroud” them with
                attorney-client privilege or work product protections. Clark taught the ThreatOps
                team that if they marked communications as “draft,” asked for a legal opinion at
                the beginning of an email, and simply wrote “attorney-client privilege” on
                documents, they would be immune from discovery.”

         •      Page 8: “Clark developed training on how to use attorney-client privilege to
                further conceal activities described in any non-ephemeral communication
                channel. Specifically, he developed a training using innocuous legal examples and
                the “lawyer dog” meme to produce a slide deck that taught the ThreatOps team
                how to utilize attorney-client privilege to impede discovery. While the
                presentation slides themselves did not depict or explain any unethical or illegal
                practices involving attorney-client privilege, Plaintiff observed Clark’s
                presentation first-hand. During the presentation, Clark verbally coached the
                participants on how to use attorney-client privilege to ensure sensitive intelligence
                collection activities would not surface in litigation.”

         At an evidentiary hearing on November 28, Mr. Jacobs stood by his statements concerning

  Mr. Clark. When asked whether Mr. Clark provided training or advice to impede or obstruct

  litigation, Mr. Jacobs testified: “I would say more generally the purpose was to impede, obstruct

  or influence the investigation of any lawsuit against Uber.” (Ex. 2, 11/28 Hr’g Tr. at 46:12-

  47:10.) Mr. Jacobs further testified that Mr. Clark “described the need to protect sensitive

  information and to ensure that we didn't create a paper trail that could come back to haunt the

  company in any potential criminal or civil litigation” (id. at 48:4-24) and that Mr. Clark had

  knowledge of Uber’s program of using non-attributable devices (id. at 51:24-52:16). When asked




  “Legal Overview,” which contains screenshots of articles about the Ergo matter, such as one at
  https://theintercept.com/2016/07/29/federal-judge-rips-uber-apart-over-dirt-digging-
  investigation/.

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  squarely whether Mr. Jacobs stood by the statement in the Jacobs letter that Clark “implemented

  a sophisticated strategy to destroy, conceal, cover up and falsify records or documents with the

  intent to impede or obstruct Government investigations as well as discovery obligations in pending

  and future litigation,” Mr. Jacobs testified: “Yes.” Finally, Mr. Jacobs affirmed that Mr. Clark

  was principally involved in Uber’s use of ephemeral communications. (Id. at 105:25-106:8.)

  Waymo’s efforts to locate and serve Mr. Clark

           Waymo informed Uber on November 30, the day after the evidentiary hearing and a day

  before Judge Alsup issued his order granting supplemental discovery, that it intended to depose

  Mr. Clark. Waymo also asked Uber to supply contact information for any witnesses not

  represented by Uber’s counsel. On December 1 Uber indicated that Clark had retained counsel

  and provided Mr. Howitson’s name to Waymo a few days later. Uber did not provide contact

  information for Mr. Clark until December 8, after the Special Master ordered Uber to do so after

  Uber’s repeated stonewalling in response to requests from Waymo.

           Beginning on December 5, Waymo has spoken with Mr. Clark’s counsel concerning Mr.

  Clark’s deposition. Initially, Waymo attempted to schedule a deposition with Mr. Clark through

  informal channels. Namely, Waymo attorney David Eiseman engaged in discussions with Mr.

  Clark’s attorney, Mark Howitson. During a phone call on December 5, 2017, Mr. Howitson

  indicated to Mr. Eiseman that Mr. Clark was unwilling to schedule a deposition until Uber agreed

  to indemnify him. On December 6, Howitson and Eiseman spoke again. Mr. Eiseman inquired

  whether Mr. Howitson would accept a subpoena on Mr. Clark’s behalf, and Mr. Howitson

  refused. Given Mr. Clark’s evasive posture, and the tight discovery deadline imposed by Judge

  Alsup,    Waymo     decided   it   could   not   wait   for   Uber   to   make   a   decision   on

  indemnification. Accordingly, Waymo decided to serve Mr. Clark with the subpoena


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  personally. Mr. Howitson refused to provide contact information for Mr. Clark, forcing Waymo

  to conduct its own search for Clark’s home address. During its investigation, Waymo uncovered

  three different addresses: (1) in San Francisco, CA, (2) in South Lake Tahoe, CA, and (3) in Boca

  Raton, FL. Waymo attempted service at all three addresses on multiple occasions. The Boca Raton

  subpoena is the subject of this motion.

         When Waymo forwarded the Boca Raton subpoena to its process server on December 8,

  2017, it mistakenly included a San Francisco address as the deposition’s location. Waymo realized

  this error and sent its process server an updated version of the subpoena on December 13,

  2017. This revised subpoena sought deposition testimony in Miami, FL, well within the 100 mile

  limit imposed by the Federal Rules. (See Subpoena, filed herewith as Exhibit 5.) Waymo also

  forwarded the corrected version to Mr. Howitson on December 13, but Howitson still refused to

  accept service. (Exs. 4, 5.) On December 14, the Florida process mistakenly served Mr. Clark

  with the old subpoena instead of the revised version.

                                            ARGUMENT

         Under Federal Rule of Civil Procedure 45, a court may quash or modify a subpoena if it

  “(1) fails to allow a reasonable time for compliance; (2) requires a person who is not a party to

  travel more than 100 miles from where the person resides; (3) requires disclosure of privileged or

  protected matter; or (4) subjects a person to undue burden.” TIC Park Ctr. 9, LLC v. Cabot, No.

  16-24569-CIV, 2017 WL 3099317, at *3 (S.D. Fla. Apr. 12, 2017) (citation and internal quotation

  marks omitted). The person seeking to quash the subpoena “must meet a heavy burden” to do

  so. Id. (citation and internal quotation marks omitted). Mr. Clark’s motion, which complains

  vaguely about the subpoena’s quick turnaround time and the burden of cross-country travel, fails

  to meet this heavy burden, particularly given Mr. Clark’s central involvement in the subject matter

  of the court-ordered discovery.
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  The subpoena does not require Mr. Clark to travel more than 100 miles

         After initially crafting a subpoena calling for deposition testimony in California, Waymo

  realized its mistake and noticed the deposition for Miami. (Ex. 5.) Waymo sent the corrected

  subpoena to Mr. Clark’s counsel, but due to a mistake by the process server, served the incorrect

  subpoena on Mr. Clark. At any rate, Waymo is willing to depose Mr. Clark either in Miami or in

  San Francisco, mooting this complaint.

  The subpoena does not impose an undue burden on Mr. Clark

         Mr. Clark’s motion fails to pass the straight-face test, much less meet the “heavy burden”

  required by a movant seeking to quash a subpoena. As set forth in Mr. Clark’s motion, Mr. Clark

  has already agreed to sit for a 4-hour deposition in San Francisco, provided that Waymo pay travel

  expenses and produce to Mr. Clark all documents about which Waymo intends to question Mr.

  Clark. Waymo agrees to pay the travel expenses of Mr. Clark and his attorney. In the alternative,

  Waymo would also be agreeable to the deposition taking place in Miami.1 The only live issues,

  then, are (i) the length of the deposition and (ii) advance provision of documents.

         As to deposition length, as noted above, the Special Master under a charter from the district

  court stated that Waymo is entitled to seven hours for all depositions during this round of

  discovery. It would be particularly improper to give Mr. Clark special treatment Mr. Clark’s key

  role at Uber during the applicable timeframe and the plethora of specific statements concerning

  Mr. Clark specifically.

         As to advanced document production, courts have previously rejected requests for advance

  notice of documents. In re: Urethane Antitrust Litig., No. 04-MD-1616-JWL, 2011 WL

  13074295, at *1-2 (D. Kan. Dec. 22, 2011) (noting that “counsel is not typically required to provide


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             Waymo is also agreeable to the deposition being held on December 22, 2017.

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  advance notice of documents they intend to show a witness during a deposition.”).      Mr. Jacobs

  advances no reason why he should receive special advanced notice of the documents Waymo

  intends to use at his deposition. First, Waymo’s choice of documents is protected work product,

  an issue that Mr. Jacobs does not even address. Also, Mr. Clark supplies no case law in support

  of his unorthodox request for advance notice of deposition documents. In short, the request is a

  nonstarter. As Mr. Clark well knows, Waymo intends to ask Mr. Clark about his past patterns and

  practices at Uber, including the claims made by Mr. Jacobs. Thus contrary to any implication in

  his motion, Mr. Clark is generally aware of the subject matter of his deposition, and needs not

  review documents in advance to prepare to testify about his personal knowledge of the alleged

  patterns and practices.

  Waymo has given Mr. Clark a reasonable time for compliance

         Whether a subpoena is reasonable “must be determined according to the facts of the case,

  such as the party's need for the documents and the nature and importance of the litigation.” TIC

  Park Ctr. 9, LLC v. Cabot, No. 16-24569-CIV, 2017 WL 3099317, at *2 (S.D. Fla. Apr. 12, 2017)

  (internal citation and quotation marks omitted). Reasonableness also hinges upon “the other

  underlying circumstances of the particular case.” 9A Fed. Prac. & Proc. Civ. § 2463.1 (3d

  ed.) Here, Waymo needs Mr. Clark’s testimony on, among other topics, the specific statements in

  the Jacobs letter charging Mr. Clark with direct knowledge and responsibility for the issues at the

  heart of Judge Alsup’s order granting supplemental discovery: non-attributable devices,

  ephemeral communications, and systemic efforts to avoid creating paper trails and contrived

  claims of privilege. The timeframe is accelerated per order of Judge Alsup, who found the Jacobs

  letter important enough to, on the eve of trial, order a two-month continuance specifically to take

  depositions like those of Mr. Clark.


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          Since Judge Alsup’s order granting additional discovery, Waymo has diligently sought to

   contact Mr. Clark, who is no longer with Uber. As described above, Waymo notified Uber of its

   intent to depose Mr. Clark on November 30 and contacted Mr. Clark’s attorney on December

   5. Mr. Clark, who has already agreed to sit for a deposition on December 22, cites to no case for

   the notion that 17 days is unreasonably short notice, particularly given that the court-ordered

   discovery window was only 21 days. Under the circumstances, Waymo’s notice was timely, and

   Mr. Clark’s time to respond and prepare ample. See Parrot, Inc. v. Nicestuff Distrib. Int'l, Inc.,

   No. 06-61231-DIMITROULEA, 2009 WL 197979, at *4 (S.D. Fla. Jan. 26, 2009) (11-day written

   notice was reasonable, even though service occurred four days before deposition); Subair Sys.,

   LLC v. Precisionaire Systems, Inc., No. 08-cv-60570, 2008 WL 1914876, at *2 n. 4 (S.D. Fla. Apr.

   26, 2008) (ten days notice reasonable under FRCP 45).

   The subpoena does not require disclosure of privileged or protected matter

          Waymo intends to depose Mr. Clark on his knowledge of and involvement with certain

   practices at Uber, including relating to the use of non-attributable devices, ephemeral

   communications, and use of contrived privilege to improperly shield documents from

   discovery. Much of this information is simply factual subject matter, and not privileged. And to

   the extent that Mr. Clark advised Uber on fraudulent practices, no privilege attaches. United States

   v. Zolin, 491 U.S. 554, 562-633 (1989).

          While some of Waymo’s questions may call for information protected by a privilege held

   by Uber, Uber has not moved to quash the subpoena. Mr. Clark’s concern of making “inadvertent

   disclosure” of privileged information (Mot. at 7) is baseless. Mr. Clark is an attorney. Mr. Clark

   has obtained representation. And counsel for Uber will also attend the deposition and be ready to

   object to any improper disclosure of any material covered by a privilege controlled by Uber. Thus,


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   Mr. Clark will, as in any deposition, provide information that is not covered by privilege, and

   refuse to provide information that is privileged. Waymo asks for nothing more.

                                                CONCLUSION

          For the foregoing reasons, Plaintiff respectfully requests that this Court deny Mr. Clark’s

   motion to quash and order Mr. Clark to provide seven hours of deposition testimony. A proposed

   order denying the motion is appended hereto for the Court’s convenience. See Proposed Order,

   filed herewith as Exhibit 6.




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   Dated: December 19, 2017                Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 19th day of December, 2017, I electronically

   filed the foregoing document with the Clerk of the Court using CM/ECF. I also certify

   that the foregoing document is being served this day on counsel for non-party Craig Clark,

   Ryan     Stumphauzer,      rstumphauzer@sslawyers.com,           and   Jorge    Santiago,
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   jperezsantiago@sslawyers.com, and all counsel of record in the matter of Waymo v. Uber

   et al., Case No. C 17-00939 WHA, as identified below, via email.

                                                       s/ Lance A. Harke



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